                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE MIDDLE DISTRICT OF TENNESSEE


 LINDA JAHNKE,
        Plaintiff,                                    No: 3:08cv-1074
 v.                                                   JUDGE HAYNES
 PURVIS PRESHA, et al.,
        Defendants.

       ORDER REMANDING CASE TO STATE COURT AND AWARDING
           ATTORNEYS’ FEES TO PLAINTIFF LINDA JAHNKE

       Based on the pleadings, motions and briefs of the parties, as well as oral argument

from counsel presented at the case management conference on January 26, 2009, the

Court finds that the removal by Bankers’ Life was objectively unreasonable under the

circumstances.

       Therefore, for good cause shown, Plaintiff’s Motion to Remand is GRANTED and

this case is hereby remanded to the Chancery Court for Davidson County, Tennessee, for

further proceedings.

       Furthermore, based on the foregoing, Plaintiff’s Motion for Attorneys’ Fees is

GRANTED and Defendant Bankers’ Life & Casualty Company is hereby ordered to pay

Plaintiff Linda Jahnke the amount of $2,000.00 for the attorneys’ fees that she incurred as

a result of the improper removal by Bankers’ Life.

SO ORDERED this          day of January, 2009.



                                                 ____________________________
                                                 U.S. DISTRICT COURT JUDGE



      Case 3:08-cv-01074 Document 22 Filed 01/27/09 Page 1 of 2 PageID #: 95
                                                 SUBMITTED FOR ENTRY BY:
                                                 BAYDOUN & KNIGHT, PLLC



                                                 By:   /s/ Nader Baydoun
                                                       Nader Baydoun - 3077
                                                       Stephen C. Knight - 15514
                                                       Christopher J. Oliver - 20918
                                                       Baydoun & Knight, PLLC
                                                       Fifth/Third Center, Suite 2650
                                                       424 Church Street
                                                       Nashville, Tennessee 37219
                                                       (615) 256-7788

                                                       Attorneys for Plaintiff
                                                       Linda Jahnke



                            CERTIFICATE OF SERVICE

        I hereby certify that a true and correct copy of the foregoing has been served via
electronic delivery to Martin B. Bailey and John L. Miller, of Wagner, Myers and
Sanger, P.C., 1801 First Tennessee Plaza, P.O. Box 1308, Knoxville, TN 37901-1308 on
this 27 th day of January, 2009.




                                                 /s/Nader Baydoun




                                           -2-



    Case 3:08-cv-01074 Document 22 Filed 01/27/09 Page 2 of 2 PageID #: 96
